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                                                                          JUll-520$U/
                        UNITED STATES DISTRICT COURT                _ TL|OMAqO BRUTON
                        NORTHERN DISTRICT OF ILLINOIS               CLERK, U.8. DISTRICT COURT
                              EASTERN DIVISION

UNITED STATES OF AMERICA                    )

     v.
                                            )
                                            )
                                                   N"
                                                        19CR                     4'74
                                            )      Violations: Title 18, United States
YALE SCHIFF                                 )      Code, Sections 1344 and 10284

                                                                           ruDCE    DOW
                                     COUNT ONE
                                                              MAGISrMTE JT'EE            NBN
     The SPECIAL JANUARY 2019 GRAND JURY charges:

     1.        At times material to this Indictment:

               a.    Defendant YALE SCHIFF purportedly held management

positions at various companies in the mortgage lending industry.

               b.    C.S. was SCHIFF's relative, and the legal owner of the property

located at 1000 W. Adams Street in Chicago, Illinois ("Adams Street Property") and

the property located at 2460 Forest GIen Trail in Riverwoods, Illinois ("Riverwoods

Residence").

               c.    D.I. was SCHIFF's business associate.

               d.    I.S. was SCHIFF'relative.

               e.    A.S. was SCHIFF's relative.

               f.    The Yale Schiff Fake Identity was an identity using the name

Yale Schiff with a date of birth and a social security number that did not belong to

SCHIFF, and false employment and income information.

               g.    The Jeff Kaplan Fake Identity was an identity using the name

Jeff Kaplan with a social security number that belonged to a real person not named
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Jeff Kap1an, a date of birth not known to be associated with any person named Jeff

Kaplan, and fictitious employment and income information.

                h.    The Sam Rosen Fake Identity was an identity using the name

Sam Rosen with a social security number that belonged to a real person not named

Sam Rosen, a date of     birth not known to be associated with any person named Sam

Rosen, and fictitious employment and income information.

                i.    The J.G. Stolen Identity was an identity using the full name, date

of birth, and social security number of J.G., a deceased real person known to

SCHIFF, and false employment and income information.

                j.    The L.I. Stolen Identity was an identity using the full name, date

of   birth, and social security number of L.I., a relative of D.I. and a real person known

to SCHIFF, and false employment and income information.

                k.    American Chartered Bank ("American Chartered"), Bank of

America ("BOA"), Bank One, BMO Harris Bank, BMW Bank of North America

("BMW Bank"), Chicago Bancorp, Comenity Bank, Countrywide Home Loans

("Countrywide"), Discover Bank, GMAC, IndyMac Bank, JP Morgan Chase Bank

("Chase Bank"), Synchrony Bank, TD Bank, US Bank, Washington Mutual Bank

("WAMU") and Wintrust Mortgage were financial institutions insured by the

Federal Deposit Insurance Corporation.

                1.    Digital Federal Credit Union ("Digital Federal"), Nayy Federal

Credit Union ("Navy Federal") and Pentagon Federal Credit Union ("Pentagon
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 Federal") were financial institutions insured by the National Credit Union

Administration.

               m.   Financial institutions, including those identified in the previous

 two subparagraphs, required loan applicants to provide truthful information,
 including the applicant's identity, financial condition, employment, income,
liabilities, source of down payment funds, and encumbrances on collateral, all of

which was material to the financial institutions' approval, terms, and funding of

loans.

              n.    Mortgage lenders often sold and or assigned loans to other lenders

and institutions ("successors"). Lenders disclosed that the mortgage loans could be

sold or assigned and the likelihood that the mortgage loans would be sold or

assigned. The information provided in loan applications and supporting documents,

including the borrower's identity, financial condition, employment, income,

liabilities, source of down payment funds, and encumbrances on collateral, was

material to the successors' decision to purchase or service the mortgage loans.

         2.   Beginning in or around2004 and continuing to in or around 2018, in the

Northern District of Illinois, and elsewhere,

                                  YALE SCHIFF,

defendant herein, with others known and unknown to this grand jury, knowingly

devised and participated in a scheme to defraud a financial institution and to obtain

money, funds, credits, assets and other property owned by and under the custody and

control of a financial institution, by means of materially false and fraudulent



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 pretenses, representations and promises, which scheme is further described            in the
 following paragraphs.

       3.     It was part of the scheme that SCHIFF and others made materially false

and fraudulent representations to financial institutions to obtain millions of dollars      in

the form of mortgage loans, vehicle loans, lines of credit, and credit card accounts.

       4.     It   was further part of the scheme that SCHIFF and others filed and

caused the filing of false releases of mortgages and liens on real property and vehicles

held as collateral for loans, thereby making   it   appear that the    title to the collateral
was free and clear and allowing SCHIFF to fraudulently obtain additional loan

proceeds or to sell the collateral and retain the sales proceeds, without payment to

prior mortgage holders or lienholders.

      5.      It was further part   of the scheme that SCHIFF and others fraudulently

used fictitious identities, through combinations of names, including fake names such

as Jeff Kaplan and Sam Rosen, social security numbers, and dates of birth, to obtain

loans and credit from financial institutions.       In   connection   with SCHIFF's use of
fictitious identities, SCHIFF used a fake Illinois driver's license that bore the name

Jeff Kaplan with SCHIFF's likeness and an address of a residence previously used by

SCHIFF, and a fake Illinois driver's license that bore the name Sam Rosen with D.I.'s

Iikeness and an address of a residence used by A.S.

      6.      It was further part   of the scheme that SCHIFF and others fraudulently

used the identities of other real persons, namely L.I. and J.G., without authorization

from those persons, to obtain loans and credit from financial institutions.
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                        Fraudulently Obtained Morteage Loans

       7.     It was further part of the scheme that SCHIFF fraudulently obtained
and caused to be obtained mortgage loans secured by real property through false

statements   in loan applications and false releases of mortgages on the collateral,
including as follows.

                        910 W. Madison Street.   Unit 802. Chicaeo

      8.       It   was further part of the scheme that in or around November 2002,

SCHIFF purchased the property located at 910 W. Madison Street., Unit 802, Chicago,

Illinois ("Madison Street Property") with Iinancing that included a loan from BOA of

approximately $270,000 secured by a mortgage on the Madison Street Property.

      9.      It was further part of the scheme that in or around July 2003, SCHIFF
obtained a home equity line of credit (HELOC) from Bank One for approximately

$292,000, using the Madison Street Property as collateral, and shortly thereafter,

obtained advances on the HELOC in the amount of approximately $270,000, which he

used to pay off the original mortgage loan from BOA on the Madison Street Property.

      10. It was further part of the scheme that in or around June 2005, SCHIFF
filed or caused to be filed with the Cook County Recorder of Deeds   a release   that falsely

stated that the HELOC obtained from Bank One, later known as Chase Bank, was

paid in full and that the lien was thereby released when, as SCHIFF knew, the loan

was not paid in full and the lien had not been released.
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       11. It was further part of the scheme that in order to conceal the scheme,
including the false and fraudulent release of the lien, SCHIFF continued to pay on the

Bank One/Chase Bank HELOC after he caused the removal of the lien.

                        16 S. Aberdeen Street,   Unit 9, Chicaeo

                     Chicago Ban corp / Countrywide Home Loans

      12.     It was further part of the scheme that in or around March   2004, SCHIFF

purchased the property located   at 16 S. Aberdeen Street, Unit 9, Chicago, Illinois
("Aberdeen Street Property") for approximately $520,000, with financing through two

Ioans from Chicago Bancorp, a first loan for approximately $416,000 and a second Ioan

for approximately $52,000, both using the Aberdeen Street Property as collateral, with

the second mortgage subordinate to the fi.rst. Subsequently, Chicago Bancorp assigned

both loans to Countrywide.

      13. It was further part of the scheme that SCHIFF obtained additional
financing using the Aberdeen Street Property as collateral, and used that financing to

pay off the mortgages from the Chicago Bancorp/Countrywide loans, with the

remaining loan proceeds disbursed to SCHIFF.

      14. It was further part of the scheme that in or around July 2005, SCHIFF
obtained from Chicago Bancorp a HELOC for $125,000, using the Aberdeen Street

Property as collateral, which Chicago Bancorp subsequently assigned to GMAC.

      15. It    was further part of the scheme that in or around August 2005,

SCHIFF filed or caused to be filed with the Cook County Recorder of Deeds a release

that falsely claimed that the Chicago Bancorp/GMAC HELOC was paid in full and



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that the lien was released when, as SCHIFF knew, the HELOC was not paid in full

and the Iien had not been released.

      16. It was further part of the scheme that in order to conceal the scheme,
including the false and fraudulent release, SCHIFF continued to make payments on

the JuIy 2005 Chicago Bancorp/GMAC HELOC after causing the release of the lien.

             Additional Loans Using Aberdeen Street Property as Collateral

      17. It was further part of the scheme that SCHIFF obtained other loans
collateralized by the Aberdeen Street Property, including the following: (a)      in   or

around July 2005, SCHIFF obtained from Quicken Loans two refinancing loans for

the Aberdeen Street Property, one for approximately $480,000 (subsequently assigned

to IndyMac Bank) and one for approximately $120,000 (subsequently assigned to
BOA); &) in or around December 2005, SCHIFF obtained from BMO Harris Bank a

HELOC for approximately $385,000; (c) in or around May 2006, SCHIFF obtained

from Chicago Financial Services a loan for $350,000 (subsequently assigned to US

Bank); and (d) in or around December 2006, SCHIFF obtained from WAMU a HELOC

for approximately $468,000.

      18. It was further part of the scheme that SCHIFF obtained these loans
described   in the preceding paragraph through false information, including falsely
stating in his loan application submitted to Chicago Financial Services/US Bank that

the loan with Quicken Loans/IndyMac Bank was secured by a property located at L523

N. California Avenue, Chicago, Illinois and that the BMO Harris Bank HELOC was

secured by a property located at 4601 W. Touhy Avenue, Lincolnwood, Illinois, and
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falsely stating in his loan application submitted to WAMU that the loan with Quicken

Loans/IndyMac Bank was secured by a property located         at   2055 W. Ohio Street,

Chicago, Illinois, and that the BMO Harris Bank HELOC was secured by a property

Iocated at 1000 W. Adams Street, Chicago, Illinois when, as SCHIFF knew at aII times,

both the Quicken Loans/IndyMac Bank loan and the BMO Harris HELOC were

secured by the Aberdeen Street Property.

        19. It was further part of the scheme that on multiple occasions, SCHIFF
filed or caused to be filed with the Cook County Recorder of Deeds false documentation

purporting to release various mortgages and liens on the Aberdeen Street Property,

and claiming that various loans were paid in full when such loans were not paid in

full, including: (a) in or around October 2005, a release that falsely claimed that the

Quicken Loans/IndyMac Bank loan (for approximately $480,000) was paid in fuII and

that the Quicken Loans/IndyMac mortgage on the Aberdeen Street Property was
released; (b)   in or around April   2006,   a release that falsely claimed that    the

Quicken/BOA loan (for approximately $120,000) was paid            in full and that the
Quicken/BOA mortgage on the Aberdeen Street Property was released; (c) in or around

April   2006, a release that falsely claimed that the BMO Harris Bank HELOC had been

paid in full and that the BMO Harris Bank lien on the Aberdeen Street Property was

released; and (d) in or around September 2006, a release that falsely claimed that the

Chicago Financial Services/US Bank loan had been paid in full and that the Chicago

Financial Services/US Bank mortgage on the Aberdeen Street Property was released;

and (e) in or around November 2007, a release that falsely claimed that the WAMU




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HELOC had been paid in full and that the WAMU HELOC Iien on the Aberdeen Street

Property was released.

      20. It     was further part of the scheme that in or around August 2008,

SCHIFF sold the Aberdeen Street Property for approximately $525,000, and received

approximately $484,000 in sale proceeds, which he kept for his own benefit, without

paying on any of the outstanding loans secured by the Aberdeen Street Property.

      21. It was further part of the scheme that in order to conceal the scheme,
including the false and fraudulent releases on the Aberdeen Street Property, SCHIFF

continued to make payments on certain of these loans even after falsely causing the

release of the mortgage or lien secured by Aberdeen Street Property, and on at least

one loan, after the sale of the Aberdeen Street Property.

                      1000 W. Adams Street.    Unit 816. Chicago

      22. It was further part of the scheme that in or around September 2006,
SCHIFF purchased the Adams Street Property for approximately $269,000, financed

by a loan from Chicago Financial Services for approximately $242,000, using the

Adams Street Property as collateral. Chicago Financial Services subsequently

assigned service of the loan to GMAC.

      23. It was further part of the scheme that in or around December 2007,
SCHIFF filed or caused to be filed with the Cook County Recorder of Deeds a release

that falsely claimed that the Chicago Financial Services/GMAC loan was paid in full

and thereby released the mortgage, when, as SCHIFF knew, the loan was not paid in

full and the mortgage had not been released.
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       24. It was further part of the scheme that in or around April 2009, SCHIFF
and C.S. formed the 1000 W. Adams LLC as the only two members and managers of

the LLC, and SCHIFF then transferred the Adams Street Property to the 1000 W.

Adams LLC; then, in or around November 2009, the 1000 W. Adams LLC transferred

the Adams Street Property to C.S.

      25. It was further part of the scheme that in or around November 2009,
SCHIFF and C.S. obtained a loan in her name from Wintrust Mortgage to refinance

the Adams Street Property, in the amount of approximately $188,250, using the

Adams Street Property as collateral. The loan required proof that the property be

"owned free and clear."

      26. It was further part of the scheme that in or around November 2009,
SCHIFF submitted or caused to be submitted to Wintrust Mortgage a fictitious letter

purportedly from GMAC to SCHIFF referencing the prior mortgage on the Adams

Street Property and stating, "This is to confirm that your home mortgage loan with

GMAC has been paid in full and is now closed effective October 10, 2007," when, as

SCHIFF knew, the letter was not from GMAC and the loan was not paid in full.

      27. It was further part of the scheme that in or around November            2009,

Wintrust Mortgage issued in excess of $160,000 in mortgage loan proceeds to C.S.,

who transferred approximately $122,000 of the loan proceeds to a bank account

controlled by I.S., who then provided a portion of the loan proceeds to SCHIFF.




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                            2057 W. Ohio Street. Chicaeo

      28. It was further part of the scheme that in or around April 2007, SCHIFF
purchased the property located at 2057 W. Ohio Street, Chicago, Illinois ("the Ohio

Street Property"), from Ohio Development Group LLC, of which SCHIFF was one of

two managers/members.

      29.     It was further part   of the scheme that in or around   April 2007, SCHIFF

obtained from American Chartered a loan for approximately $375,000 to finance the

purchase of the Ohio Street Property using       that property as collateral. SCHIFF
submitted a loan application to American Chartered falsely stating, among other

things, that SCHIFF had only one outstanding mortgage on the Aberdeen Street

Property, namely the WAMU HELOC when, as SCHIFF knew, he then had multiple

outstanding loans secured by the Aberdeen Street Property, including the Chicago

Bancorp Loan, the Quicken Loans/IndyMac Bank loan, the BMO Harris Bank

HELOC, and the Chicago Financial Services/US Bank loan.

                         2460 Forest GIen Trail. Riverwoods

      30. It was further part of the scheme that in or around June 2Ot5, SCHIFF
and C.S. obtained a loan in her name from Chase Bank for approximately $678,000 to

purchase the Riverwoods Residence, for C.S. and SCHIFF to reside, using the

Riverwoods Residence as collateral.

      31. It was further part of the scheme that in or around April 2015, as part
of the loan application process, SCHIFF falsely represented to Chase Bank that the

Ohio Street Property "had no current mortgage" when, as SCHIFF knew, American




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Chartered had a lien on the Ohio Street Property and that, on or about April 6, 2009

American Chartered had initiated foreclosure proceedings on the Ohio Street Property

which were still pending as of the date of SCHIFF's false representations to Chase

Bank.

        32. It was further part of the scheme that in or around May 2015, SCHIFF
caused fraud proceeds from bank accounts opened by SCHIFF in the name of fictitious

identities, including the Sam Rosen Fake Identity and the Jeff Kaplan Fake Identity,

to be deposited into C.S.'s bank account and used as part of the financing for the down

payment for the Riverwoods Residence.

                      Fraudulently Obtained Vehicle Loans
        33. It was further part of the scheme that SCHIFF fraudulently obtained
vehicle loans from financial institutions through false statements, including the use

of false and stolen names and personally identifiring information, in vehicle loan

applications and through fictitious releases falsely asserting that such Ioans had been

paid in fuII.

        34. It   was further part of the scheme that      in or around March     2013,

SCHIFF, using the Yale Schiff Fake Identity, obtained a loan of approximately

$53,800 from BMO Harris to purchase a 2014 Jeep Grand Cherokee, secured by a Iien

on the vehicle in favor of BMO Harris.

        35. It was further part of the scheme that in or around June 2014, SCHIFF
submitted or caused to be submitted a letter to the Illinois Secretary of State falsely

purporting to be from BMO Harris and falsely stating that the BMO Harris loan was



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paid in full, and requesting that the Illinois Secretary of State issue a duplicate and

corrected   title that removed BMO Harris as the lienholder on the Jeep when,        as

SCHIFF knew, the BMO Harris loan had not been paid in full and the lien had not

been released.

        36. It was further part of the scheme that in or around June 2014, SCHIFF
caused a company named "Funding Choices" to be added as a lienholder on the

fraudulently obtained duplicate title for the Jeep, then caused "Funding Choices" to

sell the vehicle for approximately $41,000 and deposited the sale proceeds into a bank

account controlled by SCHIFF.

        37. It was further part of the scheme that in or around February         2017,

SCHIFF, using the Jeff Kaplan Fake Identity, obtained financing from BMW Bank in

the amount of approximately $92,000, to purchase a 2017 BMW X5 in the name of Jeff

Kaplan and Axis Development Corp, secured by a lien on the vehicle in favor of BMW

Bank.

        38. It was further part of the scheme that in or around May 20L7 , SCHIFF
submitted or caused to be submitted to the Illinois Secretary of State a letter falsely

purporting to be from BMW Bank and false stating that the loan from BMW Bank had

been paid   in full and requesting that BMW Bank be removed as a lienholder on the

title of the BMW when, as SCHIFF knew, the BMW Bank loan had not been paid in

full and the lien had not been released.




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       39. It was further part of the scheme that in or around June 20L7, SCHIFF
attempted to seII the BMW at an auction, but BMW Bank prevented the sale and

recouped the vehicle.

       40. It was further part of the scheme that in or around May 20L5, SCHIFF,
using the Sam Rosen Fake Identity, including the fake Illinois Driver's license

associated with that identity bearing a likeness of D.I., obtained from Digital Federal

a loan of approximately $47,000 to purchase a 2015 Lexus RX350 from the Jeff Kaplan

Fake Identity, secured by a lien on the vehicle in favor of Digital Federal.

      4L. It was further part of the scheme that in or around May 2015, Digital
Federal issued the loan proceeds for the purchase of the Lexus to the Sam Rosen Fake

Identity by a check for $47,000 made payable to Jeff Kaplan, which was deposited into

an account in the name of the Jeff Kaplan Fake Identity controlled by SCHIFF, and

that SCHIFF used the proceeds of this fraudulent transaction for the down payment

on the Riverwoods Residence, as described above.

      42. It was further part of the scheme that SCHIFF never transferred title
ofthe Lexus to the Sam Rosen Fake Identity and never added or caused to be added

Digital Federal as a lienholder on the title to the Lexus.

       43. It was further part of the scheme that in or around June 2015, SCHIFF
added or caused to be added as a lienholder to the       title of the Lexus a company
identified as "Solutions Auto Group Inc."

      44. It was further part of the scheme that in or around June 2015, SCHIFF
caused Solutions Auto Group to sell the Lexus for approximately $34,000, with the




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sales proceeds deposited into a bank account       in the name of Solutions Auto Group,
which was controlled by SCHIFF using the Yale Schiff Fake Identity, with none of the

proceeds paid to Digital Federal.

                       Fraudulently Obtained Lines of Credit
       45. It was further part of the scheme that SCHIFF fraudulently obtained
lines of credit from financial institutions using false information, including false

identities, the proceeds of which he used for his and family members' expenses, then

failed to pay the amounts due on the lines of credit.

       46. It    was further part of the scheme that        in or around March      2015,

SCHIFF, using the L.I. Stolen Identity, opened a line of credit at Navy Federal, which

SCHIFF used to issue checks and make bank transfers to SCHIFF in his name and in

the name of fake identities used by SCHIFF.

      47.     It was further part   of the scheme that in or around   April 2015, SCHIFF,

using the Sam Rosen Fake Identity, opened a line of credit at Navy Federal, which

SCHIFF used to issue checks to SCHIFF in his name and in the names of fake

identities used by him, to C.S. and to I.S.

       48. It was further part of the scheme that in or around February             2017,

SCHIFF, using the Jeff Kaplan Fake Identity, opened a line of credit at Navy Federal,

which SCHIFF used for his own benefit and to issue checks to I.S. and to A.S.




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                   Fraudulently Obtained Credit Card Accounts
       49. It was further part of the scheme that SCHIFF fraudulently obtained
from financial institutions credit card accounts using false information, including false

identities, which he used for his and family members'personal expenses, and on which

he left unpaid balances.

       50.    It was further part   of the scheme that in or around   April   2012, SCHIFF,

using the Yale Schiff Fake Identity, obtained from Pentagon Federal a Visa credit card

account ending in number 3001, which SCHIFF used to purchase personal items.

      51. It was further part of the scheme that in or around May 2015, SCHIFF,
using the Sam Rosen Fake Identity, obtained from Digital Federal a Visa credit card

account ending in number    l4l, which SCHIFF used to obtain      cash advances to fund

checks payable to SCHIFF and SCHIFF's fake identities, and to make purchases for

his own benefit.

      52. It was further part of the scheme that in or around October 2015,
SCHIFF, using the L.I. Stolen Identity, obtained from Comenity Bank a Visa credit

card account ending in number 5L2L and a Visa credit card account ending in number

1015, both of which SCHIFF used for transactions         with   companies controlled by

SCHIFF or I.S. or A.S., for payments for storage space rented by SCHIFF or I.S., and

for other purchases.

      53. It was further part of the scheme that in or around February                2017,

SCHIFF, using the Jeff Kaplan Fake Identity, obtained from Navy Federal a Visa




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credit card account ending in number t71-L, with SCHIFF as an authorized user, which

SCHIFF used for cash advances and purchases.

      54. It was further part of the scheme that in or around February         2018,

SCHIFF, using the J.G. Stolen Identity, obtained from Discover Bank a Discover

credit card account end.ing in number 5818, which SCHIFF used to obtain, among

other things, cash advances.

      55. It was further part of the scheme that in or around February 2018,
SCHIFF and D.I., using the J.G. Stolen Identity, obtained from TD Bank a Nordstrom

credit card account ending in number 7763, which SCHIFF and D.I. used for their own

purchases at Nordstrom stores.

      56. It     was further part of the scheme that SCHIFF misrepresented,

concealed, and hid, and caused     to be misrepresented, concealed, and hidden, the
existence, purpose, and acts done in furtherance of the scheme.

      57.    On or about November 2, 2009, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                    YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Wintrust Mortgage to issue loan proceeds to C.S. in the amount of

approximately $188,250, to purchase the Adams Street Property;

      In violation of Title 18, United States Code, Section 7344.




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                                   COUNT TWO

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One             are

incorporated here.

      2.     On or about June 9, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Chase Bank to issue loan proceeds        to C.S. in the amount of
approximately $678,000, to purchase the Riverwoods Residence;

      In violation of Title 18, United States Code, Section 1344.




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                                 COUNT THREE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One              are

incorporated here.

      2.     On or about March 27,2013, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                  rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing BMO Harris Bank to issue loan proceeds to the Yale Schiff Fake

Identity in the amount of approximately $53,800 for the purchase of a 2014      Jeep

Grand Cherokee;

      In violation of Title 18, United States Code, Section 1344.




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                                  COUNT FOUR

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One              are

incorporated here.

      2.     On or about May 14, 20L5, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing    Digital Federal to issue loan proceeds to the Sam Rosen Fake

Identity in the amount of approximately $47,000 for the purchase of a Lexus RX350;

      In violation of Title 18, United States Code, Section 1344.




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                                    COUNT FIVE

       The SPECIAL JANUARY 2019 GRAND JURY further charges:

       1.    The allegations of paragraphs 1 through 56 of Count One                are

incorporated here.

       2.    On or about March 13,2015, in the Northern District of Illinois Eastern

Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the   L.I. Stolen

Identity;

       In violation of Title 18, United States Code, Section 1344.




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                                       COUNT SD(

      The SPECIAL JANUARY 2019 GRA.ND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One                  are

incorporated here.

      2.     On or about   April   28, 2OI5, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                      rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the Sam Rosen

Fake Identity;

      In violation of Title 18, United States Code, Section 1344.




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                                   COUNT SEVEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One               are

incorporated here.

      2.     On or about February 14, 20L7, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the Jeff Kaplan

Fake Identity;

      In violation of Title 18, United States Code, Section 1344.




                                         23
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                                  COUNT EIGHT

             The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One                are

incorporated here.

      2.     On or about May 11,   zltl,in    the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Digital Federal    to open a Visa credit card account ending in
number 141 in the name of the Sam Rosen Fake Identity;

      In violation of Title 18, United States Code, Section L344.




                                         24
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                                   COUNT NINE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.    The allegations of paragraphs 1 through 56 of Count One               are

incorporated here.

      2.     On or about October 2L, 2015, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Comenity Bank to open a Visa credit card account ending in

number 1015 in the name of the L.I. Stolen Identity;

      In violation of Title 18, United States Code, Section L344.




                                         25
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                                    COUNT TEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      On or about October 21, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, during and in relation to any felony, namely bank fraud as charged

in Count Nine, did knowingly possess and use, without lawful authority, a means of

identification of another person, namely the social security number of L.I.;

      In violation of Title 18, United States Code, Section 10284.




                                         26
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                                   COUNT ELEVEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One              are

incorporated here.

      2.     On or about February 14, 20t7, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a Visa credit card account ending in number

1711in the name of the Jeff Kaplan Fake Identity;

      In violation of Title 18, United States Code, Section t344.




                                         27
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                                   COUNT TWELVE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 56 of Count One              are

incorporated here.

      2.     On or about February L4, 2OI8, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                    rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Discover Bank to open a Discover credit card account ending      in

number 5818 in the name of the J.G. Sto1en Identity;

      In violation of Title 18, United States Code, Section 1344.




                                         28
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                                COUNT THIRTEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      On or about February 14 20L8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, during and in relation to any felony, namely bank fraud as charged

in Count Twelve, did knowingly   possess and use,   without lawful authority, a means

of identification of another person, namely the social security number of J.G.;

      In violation of Title 18, United States Code, Section 10284.




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                          FORFEITURE ALLEGATION
      The SPECIAL JANUARY 2019 GRAND JURY alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section L344, as set forth in this Indictment, defendant shall forfeit to the United

States of America any property which constitutes and is derived from proceeds

obtained directly and indirectly as a result of the offense, as provided     in Title   18,

United States Code, Section 982(a)(2)(A).

      2.     The property to be forfeited includes, but is not limited to:

             a.    a personal money judgment     in the amount of approximately
                   $4,700,000; and

             b.    the following specific property:

                   i.     real property commonly known as 2460 Forest GIen Trail,
                          Riverwoods, Illinois, legally described as follows:

                          LOT L7 IN MITCHELL C. MACK'S DEERFIELD
                          WOODI,AND SUBDIVISION, BEING A SUBDIVISION
                          OF PART OF THE SOUTHEAST % OF SECTION 25,
                          TOWNSHIP 43 NORTH, RANGE 11 EAST OF THE
                          THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE
                          PI,AT THEREOF RECORDED JUNE 15, 1956, AS
                          DOCUMENT 912091 IN BOOK 33 OF PLATS, PAGE 99,
                          IN LAKE COUNTY, ILLINOIS
                          PIN: 15-2 5-407 -023-0000


      3.     If any of the property described above, as a result of any act or omission

by defendant: cannot be located upon the exercise of due diligence; has            been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty,            the



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United States of America shall be entitled to forfeiture of substitute property,   as

provided in Title 21, United States Code Section 853(p).



                                             A TRUE BILL:




                                             FOREPERSON




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